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		OSCN Found Document:IN RE AMENDMENTS TO THE CODE OF JUDICIAL CONDUCT

					

				
  



				
					
					
						
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				IN RE AMENDMENTS TO THE CODE OF JUDICIAL CONDUCT2018 OK 3Decided: 01/16/2018THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2018 OK 3, __ P.3d __

				
NOTICE: THIS OPINION HAS NOT BEEN RELEASED FOR PUBLICATION. UNTIL RELEASED, IT IS SUBJECT TO REVISION OR WITHDRAWAL. 



In re: Amendments to the Code of Judicial Conduct, 5 O.S. 2011, ch. 1, app. 4.




ORDER


Rule 4.6 of the Code of Judicial Conduct, 5 O.S. 2011, ch. 1, app. 4, is hereby amended as shown with markup on the attached Exhibit "A." A clean copy of the new rule is attached as Exhibit "B." The amended rule is effective immediately.

DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE this 16th day of January, 2018.


/S/CHIEF JUSTICE



CONCUR: COMBS, C.J., GURICH, V.C.J., KAUGER, WINCHESTER, EDMONDSON,
COLBERT, REIF, and WYRICK, JJ.




Exhibit "A"

Code of Judicial Conduct
Chapter 1, App. 4
Rule 4.6 STATEMENT OF CANDIDATE FOR JUDICIAL OFFICE

RULE 4.6 

STATEMENT OF CANDIDATE FOR JUDICIAL OFFICE

(A) In all judicial elections within ten (10) days after formally announcing and/or qualifying for election or reelection (whichever is earlier) to any judicial office in the State of Oklahoma, all candidates, including incumbent judges, shall forward written notice of such candidacy, together with the candidate's correct mailing address, current telephone number, e-mail address, facsimile (telefax) number and actual physical address to the Administrative Director of the Courts.

(B) Upon receipt of the notice, the Administrative Director shall by Certified Mail, Return Receipt Requested, or by electronic mail, read receipt requested, cause to be distributed to each candidate who has filed a notice copies of the following:

(1) The Code of Judicial Conduct

(2) Summaries of all previous Formal Advisory Opinions, if any, issued by the Judicial Ethics Panel which relate in any way to campaign conduct and practices.

(3) The Acknowledgment Form

(C) The Acknowledgment Form shall be executed and returned by regular mail by the candidate to the Administrative Director of the Courts within ten (10) days of its delivery to the candidate as shown by the Certified Mail Receipt or by the electronic mail, read receipt.

(D) The Acknowledgment Form shall certify that the candidate has received, has read, and understands the requirements of the Oklahoma Code of Judicial Conduct and agrees to comply with and be bound by the Code during the course of his/her campaign for the judicial office. The Acknowledgment Form shall be in substantially the following form:

STATEMENT OF CANDIDATE FOR JUDICIAL OFFICE

I, __________, a candidate for judicial office in the State of Oklahoma, have received, have read, understand and agree to comply with the Oklahoma Code of Judicial Conduct during the

course of my campaign for judicial office. I specifically understand that if I were to violate the terms of the Code I would be subject to diciplinediscipline under the Code or under the Rules of Professional Conduct for lawyers.

____________
Date

____________________
Signature of Candidate

(E) The failure of a candidate to file the notice as required in Rule 4.6(A) or to file the Acknowledgment Form as required in Rule 4.6(C) shall constitute a Per Se Violation of Canon 4 of the Oklahoma Code of Judicial Conduct and will be a basis for discipline under the Code.

(F) Upon request, the documents executed by a candidate for judicial election in accordance with this Rule shall be made available to the Oklahoma Supreme Court, The General Counsel of the Oklahoma Bar Association, The Professional Responsibility Panel on Judicial Elections and the Council on Judicial Complaints.

&nbsp;


&nbsp;

Exhibit "B"

Code of Judicial Conduct
Chapter 1, App. 4
Rule 4.6 STATEMENT OF CANDIDATE FOR JUDICIAL OFFICE

RULE 4.6 

STATEMENT OF CANDIDATE FOR JUDICIAL OFFICE

(A) In all judicial elections within ten (10) days after formally announcing and/or qualifying for election or reelection (whichever is earlier) to any judicial office in the State of Oklahoma, all candidates, including incumbent judges, shall forward written notice of such candidacy, together with the candidate's correct mailing address, current telephone number, e-mail address, facsimile (telefax) number and actual physical address to the Administrative Director of the Courts.

(B) Upon receipt of the notice, the Administrative Director shall by Certified Mail, Return Receipt Requested, or by electronic mail, read receipt requested, cause to be distributed to each candidate who has filed a notice copies of the following:

(1) The Code of Judicial Conduct

(2) Summaries of all previous Formal Advisory Opinions, if any, issued by the Judicial Ethics Panel which relate in any way to campaign conduct and practices.

(3) The Acknowledgment Form

(C) The Acknowledgment Form shall be executed and returned by regular mail by the candidate to the Administrative Director of the Courts within ten (10) days of its delivery to the candidate as shown by the Certified Mail Receipt or by the electronic mail, read receipt.

(D) The Acknowledgment Form shall certify that the candidate has received, has read, and understands the requirements of the Oklahoma Code of Judicial Conduct and agrees to comply with and be bound by the Code during the course of his/her campaign for the judicial office. The Acknowledgment Form shall be in substantially the following form:

STATEMENT OF CANDIDATE FOR JUDICIAL OFFICE

I, __________, a candidate for judicial office in the State of Oklahoma, have received, have read, understand and agree to comply with the Oklahoma Code of Judicial Conduct during the

course of my campaign for judicial office. I specifically understand that if I were to violate the terms of the Code I would be subject to discipline under the Code or under the Rules of Professional Conduct for lawyers.

____________
Date

____________________
Signature of Candidate

(E) The failure of a candidate to file the notice as required in Rule 4.6(A) or to file the Acknowledgment Form as required in Rule 4.6(C) shall constitute a Per Se Violation of Canon 4 of the Oklahoma Code of Judicial Conduct and will be a basis for discipline under the Code.

(F) Upon request, the documents executed by a candidate for judicial election in accordance with this Rule shall be made available to the Oklahoma Supreme Court, The General Counsel of the Oklahoma Bar Association, The Professional Responsibility Panel on Judicial Elections and the Council on Judicial Complaints.





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